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                           EXHIBIT A

        CAE NON-LEDGERING PRIMARY COUNSEL FIRMS
      1.    Axley Brynelson, LLP
      2.    Aylstock, Witkin, Kreis & Overholtz, PLLC
      3.    Bernstein Liebhard LLP
      4.    Butsch Roberts & Associates LLC
      5.    Callahan, Thompson, Sherman & Caudill, LLP
      6.    Clark, Love & Hutson PLLC
      7.    Cutruzzula and Nalducci
      8.    Dennis F. O'Brien PA
      9.    Derrick C. Morales, P.A.
      10.   Edmiston & Colton Law Firm
      11.   Environmental Litigation Group PC
      12.   Fishman Haygood LLP
      13.   Fitzgerald Law Group
      14.   Gallon, Takacs & Boissoneault, CO., LPA
      15.   Gattuso & Ciotoli, PLLC
      16.   Goza & Honnold, LLC
      17.   Guerra LLP
      18.   Gustafson Gluek PLLC
      19.   Hair Shunnarah Trial Attorneys
      20.   Hare Wynn Newell & Newton
      21.   Hensley Legal Group, PC
      22.   Holland Law Firm
      23.   Jason J. Joy & Associates, P.L.L.C.
      24.   Jassoy Law Firm
      25.   Johnson Becker
      26.   Johnson Law Group
      27.   Junell & Associates, PLLC
      28.   Keller Postman
      29.   Kelley Ferraro, LLC
      30.   Kevin S. Laine, Law Offices
      31.   Koskoff Koskoff & Bieder PC
      32.   Krupnick, Campbell, Malone, Buser, Slama, Hancock P.A.
      33.   Kwok Daniel
      34.   Larry D. Drury, Ltd.
      35.   Law Offices of Tim Biasiello
      36.   Lockridge Grindal Nauen
      37.   Lyons Irby
      38.   McCune Law Group, APC

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        CAE NON-LEDGERING PRIMARY COUNSEL FIRMS
      39.   McDonald Worley
      40.   Milberg Coleman Bryson Phillips Grossman, PLLC
      41.   Moll Law Group
      42.   Montiel Hodge LLC
      43.   Motley Rice, LLC
      44.   Murray, Stone & Wilson, PLLC
      45.   Nabers Law Firm, PLLC
      46.   Parker Waichman LLP
      47.   Pearson, Randall & Schumacher, P.A.
      48.   Porter & Malouf, P.A.
      49.   Powers Santola LLP
      50.   Pulaski Law Firm, PLLC
      51.   Ready Law LLC
      52.   Salim-Beasley, LLC
      53.   Schlesinger Law Offices, P.A.
      54.   Shunnarah Vail Trial Attorneys, P.C.
      55.   Sommers Schwartz
      56.   Swartz & Swartz
      57.   The DiLorenzo Law Firm, LLC
      58.   The Emanuel Firm, P.A.
      59.   The Kuykendall Group LLC
      60.   The Lanier Law Firm
      61.   Thornton Law Firm
      62.   Tim L. Bowden, Attorney at Law
      63.   TorHoerman Law LLC
      64.   Vecchio & Vecchio
      65.   Wagstaff & Cartmell, LLP
      66.   Wallace Miller
      67.   Weitz & Luxenberg
      68.   Wendt Law Firm, PC
      69.   Wenholz Dow P.C.
      70.   William Petros Law
      71.   Wright & Schulte, LLC
      72.   Wright McCall
      73.   Zoll & Kranz, LLC




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